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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

        Plaintiffs,
                                                          CIVIL ACTION NO.
 v.                                                          5:21-cv-844-XR
                                                     [Consolidated Action: Lead Case]
 STATE OF TEXAS, et al.,

        Defendants.


 HARRIS COUNTY REPUBLICAN PARTY, et al.,

                Intervenor-Defendants.



 [PROPOSED] ORDER GRANTING LUPE PLAINTIFFS’ UNOPPOSED MOTION FOR
    ENLARGEMENT OF PAGE LIMITATION FOR LUPE PLAINTIFFS’ OPPOSED
 MOTION TO STRIKE THE DECLARATION OF JONATHAN WHITE AND MOTION
    IN LIMINE TO EXCLUDE TESTIMONY ABOUT NON-PUBLIC INFORMATION
   RELATING TO INVESTIGATIONS AND PROSECUTIONS OF ALLEGED VOTER
                                FRAUD

       Pending before the Court is LUPE Plaintiffs’ Unopposed Motion for Leave to Exceed Page

Limit for LUPE Plaintiffs’ Opposed Motion to Strike the Declaration of Jonathan White and

Motion in Limine to Exclude Testimony About Non-Public Information Relating to Investigations

and Prosecutions of Alleged Voter Fraud. Dkt. _____. The motion seeks leave to file a motion

not exceeding 40 pages. Upon review of the request, and the lodged motion, the motion is

GRANTED. The clerk is directed to ENTER the motion.


SO ORDERED and SIGNED this _______ day of ________________________ 2023.

                                          _______________________________________
                                          HON. XAVIER RODRIGUEZ
